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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,           )
                                    )
                Plaintiff,          )                 4:08CR3148
                                    )
          v.                        )
                                    )
CHAD W. FERGUSON,                   )                    ORDER
                                    )
                Defendants.         )
                                    )


     IT IS ORDERED:

     Defendant’s motion to restrict, filing no. 73, is granted
and the clerk is directed to maintain filing no. 72 as a
restricted access document.


     DATED this 19th day of December, 2008.

                                   BY THE COURT:


                                   s/   David L. Piester
                                   David L. Piester
                                   United States Magistrate Judge
